
USCA1 Opinion

	










                            UNITED STATES COURT OF APPEALS
                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                FOR THE FIRST CIRCUIT

                              _________________________


          No. 97-1684


                              UNITED STATES OF AMERICA,

                                      Appellee,

                                          v.

                                  CHRISTIAN CASTRO,

                                Defendant, Appellant.

                              _________________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF MAINE

                     [Hon. D. Brock Hornby, U.S. District Judge]
                                            ___________________

                              _________________________

                                        Before

                                Selya, Circuit Judge,
                                       _____________

                            Coffin, Senior Circuit Judge,
                                    ____________________

                              and Stahl, Circuit Judge.
                                         _____________

                              _________________________

               Dana A. Curhan on brief for appellant.
               ______________
               Jay  P.  McCloskey,  United  States  Attorney,  Margaret  D.
               __________________                              ____________
          McGaughey  and  George  T.  Dilworth,   Assistant  United  States
          _________       ____________________
          Attorneys, on brief for appellee.

                              _________________________

                                  November 18, 1997

                              _________________________



















                    SELYA,  Circuit   Judge.    In  this  criminal  appeal,
                    SELYA,  Circuit   Judge.
                            _______________

          defendant-appellant  Christian Castro  argues  that the  district

          court erred  when it  excluded the  testimony of two  prospective

          defense witnesses on the ground that  each of them, if called  to

          the  witness stand,  could and  would invoke his  Fifth Amendment

          privilege  against  self-incrimination.     In  addition,  Castro

          asseverates that the  prosecution's role in keeping one  of these

          witnesses from testifying distorted  the factfinding process  and

          denied  him a  fair trial.   Discerning no  error, we  affirm the

          judgment of conviction.

                                          I.
                                          I.
                                          __

                                      Background
                                      Background
                                      __________

                    A federal grand jury indicted the appellant on a charge

          of conspiring to possess cocaine base (crack cocaine) with intent

          to distribute.  See 21 U.S.C.    841(a)(1) &amp; (b)(1)(B), 846.  The
                          ___

          charge arose  out of  the appellant's supposed  involvement in  a

          multi-faceted  drug trafficking  ring.   The  evidence at  trial,

          viewed in the light most  favorable to the government, see United
                                                                 ___ ______

          States v. Maraj, 947 F.2d  520, 522 (1st Cir. 1991), showed  that
          ______    _____

          the conspiracy flourished in mid-1994.  The appellant's  role was

          to  deliver  crack cocaine  between  Lawrence, Massachusetts  and

          Lewiston, Maine.  Upon arriving in Lewiston,  the appellant would

          stay at  one of several  dwellings in which  other coconspirators

          resided  and  would supervise  the ensuing  "retail" sales.   The

          coconspirators  were  geographically dispersed  and  communicated

          largely by  telephone.  Many  of the telephone numbers  that they


                                          2














          used were listed under false names.

                    At trial, the  government presented a very  strong case

          against the appellant.   Among other things,  several self-styled

          members  of  the  conspiracy testified  for  the  prosecution and

          inculpated the  appellant.   Faced with  this  array of  turncoat

          witnesses,  the  appellant  sought to  call  his  brother, Manuel

          Enr que "Ricky" Castro, and a previously convicted coconspirator,

          Melvin "Bubba" Lagasse, as defense  witnesses.  Both men informed

          the  district  court  that  they  intended  to  invoke  the Fifth

          Amendment privilege against self-incrimination.

                    After  the government rested, the court convened a voir

          dire  hearing  out  of  the presence  of  the  jury.   The  court

          prudently  required the  parties to  proceed  in a  question-and-

          answer format.   Each  witness was  represented  by an  attorney.

          Defense  counsel's questions to  Ricky Castro focused  on Ricky's

          knowledge  anent (1)  the  appellant's  relationship to  numerous

          addresses,  and his involvement with a particular dwelling (which

          the government contended  was a "crack  house"), and (2)  various

          telephone numbers that other witnesses  had said they used in the

          course of the conspiracy.

                    Ricky  Castro  invoked  his  Fifth Amendment  privilege

          against  self-incrimination  and  refused to  testify  concerning

          these matters.  Defense  counsel objected and asked the  district

          court to compel  responsive answers.   Counsel argued that  Ricky

          Castro's  testimony  would help  establish salient  points (e.g.,

          that the  appellant did  not reside  at the  specified addresses;


                                          3














          that he  allowed friends  to install a  telephone under  his name

          which  he, himself,  did not  use; and  that he  had a  different

          telephone number   not associated with the felonious activities  

          which he did  use) without in any way  incriminating the witness.

          Ricky's lawyer took a different view.

                    The  trial  judge upheld  the claim  of privilege.   He

          found,  first, that  the  requested  information  might  tend  to

          incriminate the witness, and second, that the government's cross-

          examination would likely  delve into the scope and  degree of the

          witness's  knowledge of his  brother's activities and  could thus

          lead to inculpatory information.1

                    From Lagasse,  defense  counsel attempted  to elicit  a

          statement  that  the  appellant  was  not  involved in  the  drug

          trafficking operation.   Counsel also sought to ask Lagasse about

          divers  coconspirators'  reputations for  truthfulness.   Lagasse

          invoked his Fifth Amendment privilege as to these questions.  The

          district court rebuffed the appellant's argument that Lagasse did

          not face any real threat  of incrimination because he already had

          been convicted on the conspiracy charge, finding that Lagasse had

                              
          ____________________

               1In this regard, Judge Hornby stated:

                    Certainly,  there  are   plenty  of  innocent
                    explanations  why  somebody  might  know  the
                    residence of a family member, but by the same
                    token,  if you  don't  know their  residence,
                    that might afford you a defense under certain
                    criminal charges.  And I take it, [counsel's]
                    argument   therefore  is   by  admitting   to
                    knowledge, he has thereby lost that potential
                    defense of  lack of knowledge  concerning the
                    circumstances.

                                          4














          valid Fifth Amendment concerns in two respects:  (1) his exposure

          to prosecution for one or  more robberies which may have occurred

          in  the  same  time  frame  as,  and  in  relation  to, the  drug

          conspiracy, and (2)  his exposure to prosecution  for substantive

          drug  offenses   committed  during  and  in  the  course  of  the

          conspiracy.

                    The trial concluded without testimony from either Ricky

          Castro or Bubba Lagasse.  The jury found  the appellant guilty as

          charged and Judge Hornby imposed sentence.  This appeal followed.

                                         II.
                                         II.
                                         ___

                                      Discussion
                                      Discussion
                                      __________

                                          A.
                                          A.
                                          __

                                  Standard of Review
                                  Standard of Review
                                  __________________

                    In challenging the district court's determination  that

          these   witnesses   invoked   the   Fifth   Amendment   privilege

          appropriately  and in  good faith,  the  appellant invites  us to

          subject that  determination to  plenary review.   We  decline the

          invitation.  The proper standard  for appellate review of a trial

          court's  determination that a  witness validly invoked  his Fifth

          Amendment privilege is abuse of discretion.  See United States v.
                                                       ___ _____________

          Gary, 74 F.3d  304, 310 (1st Cir. 1996); United  States v. Pratt,
          ____                                     ______________    _____

          913 F.2d  982, 990 (1st  Cir. 1990); see  also Hoffman  v. United
                                               ___  ____ _______     ______

          States, 341  U.S. 479, 488  (1951) (explaining that the  court of
          ______

          appeals  should  reverse such  a  determination only  when  it is

          "perfectly   clear  from  a  careful  consideration  of  all  the

          circumstances in the  case" that the witness's  testimony "cannot


                                          5














          possibly have such tendency to incriminate").

                    Of  course, abuse of discretion itself breaks down into

          different  components.   Within it,  factual  findings are  often

          subjected  to clear-error  review, see,  e.g.,  United States  v.
                                             ___   ____   _____________

          Perry, 116 F.3d 952, 977 (1st Cir. 1997), whereas material errors
          _____

          of  law  constitute per  se abuses  of judicial  discretion, see,
                              ___  __                                  ___

          e.g., Koon  v. United States, 116 S. Ct.  2035, 2047 (1996).  Put
          ____  ____     _____________

          another way,  it is  never within a  trial court's  discretion to

          make  a  determination that  is  premised on  an  incorrect legal

          standard.

                                          B.
                                          B.
                                          __

                                 The Fifth Amendment
                                 The Fifth Amendment
                                 ___________________

                    The   Fifth    Amendment   privilege    against   self-

          incrimination is an  essential constitutional protection  that is

          widely regarded as  a cornerstone  of our  adversarial system  of

          criminal  justice.   See Michigan  v. Tucker,  417 U.S.  433, 439
                               ___ ________     ______

          (1974).  The privilege must  not be given a crabbed construction.

          See In Re  Kave, 760  F.2d 343, 354  (1st Cir. 1985)  (collecting
          ___ ___________

          cases).

                    Withal,  the  Fifth  Amendment's  prophylaxis  is   not

          available to all  comers in all circumstances merely because they

          have  the presence of  mind to chant  the accepted constitutional

          liturgy.  To  the contrary, the prospective witness  must show at

          the very  least that he  is faced  with some authentic  danger of

          incrimination.  See Hoffman, 341  U.S. at 486-87; Pratt, 913 F.2d
                          ___ _______                       _____

          at 990; In Re Brogna, 589  F.2d 24, 27 (1st Cir. 1978).   This is
                  ____________


                                          6














          not a particularly  onerous burden.  While  chimerical fears will

          not   suffice,  the  prospective  witness  need  only  limn  some

          reasonable possibility that,  by testifying, he may  open himself

          to prosecution.  See In Re Kave, 760 F.2d at 354.
                           ___ __________

                    The privilege  cannot be  invoked on  a blanket  basis.

          See In  re Grand  Jury Matters,  751 F.2d  13, 17  n.4 (1st  Cir.
          ___ __________________________

          1984).   It operates  question by question.   Thus,  the district

          court must conduct  a "particularized inquiry."   Pratt, 913 F.2d
                                                            _____

          at 990.  For  the privilege to attach, the  questions and answers

          need not  be directly incriminating.   If a reply to  a seemingly

          innocuous question reasonably  will tend to sculpt a  rung in the

          ladder   of  evidence  leading   to  prosecution,  the  privilege

          appropriately  may be  invoked.   See Hoffman,  341 U.S.  at 486;
                                            ___ _______

          United States  v. Johnson, 488  F.2d 1206, 1209 (1st  Cir. 1973).
          _____________     _______

          In other words, testimony which might lead indirectly to evidence

          that  then could  be used  in  a future  criminal prosecution  is

          eligible  for  Fifth   Amendment  protection.    See   Murphy  v.
                                                           ___   ______

          Waterfront Comm'n, 378  U.S. 52,  79 (1964).   To like effect,  a
          _________________

          court ordinarily should not permit a witness to testify on direct

          if  the court  has adequate  reason to  believe that  the witness

          validly will invoke the Fifth Amendment on cross-examination with

          regard  to matters  which are  bound up  with those  discussed on

          direct.  See Gary, 74 F.3d at 309.
                   ___ ____

                    In the last analysis, the nisi  prius court should make

          a particularized finding  as to the applicability vel  non of the
                                                            ___  ___

          privilege  and should  elucidate its  rationale.   In reaching  a


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          decision  as  to whether  a  witness's  testimony might  tend  to

          incriminate him, the court may of course take  into consideration

          any  personal perceptions  gleaned from  its  observation of  the

          prospective witness or from its hands-on involvement in the case.

          See Hoffman, 341 U.S. at 487; United  States v. Zirpolo, 704 F.2d
          ___ _______                   ______________    _______

          23, 25 (1st Cir. 1983).

                    With  this backdrop in place, we now consider the lower

          court's rulings in respect to each of the proffered witnesses.

                                          C.
                                          C.
                                          __

                            Manuel Enr que "Ricky" Castro
                            Manuel Enr que "Ricky" Castro
                            _____________________________

                    The  appellant argues that his brother should have been

          compelled  to testify because  answering questions that concerned

          the appellant's places  of residence and telephone  numbers "[b]y

          no stretch of the  imagination" would have tended to  incriminate

          Ricky.  Relatedly, the appellant  posits that the trial court had

          the power    indeed, the duty    to preclude the government  from

          cross-examining the witness  as to other, more  sensitive matters

          (such as the basis for the witness's knowledge).  The court could

          have   used  this  power,  he  maintains,  thereby  cabining  the

          government and restricting it to a "very narrow cross."

                    We  reject this  line of  reasoning.   Here,  the trial

          court  proceeded with  commendable caution.    It prohibited  the

          witness from invoking the  Fifth Amendment on a wholesale  scale.

          Then, in an attempt to narrow the assertion of the privilege, the

          court compelled  the  witness during  the  voir dire  hearing  to

          answer  some   preliminary   questions  which   it  deemed   non-


                                          8














          incriminating.

                    As   to  the   queries  involving   knowledge  of   the

          appellant's addresses, the court's finding that the witness faced

          potential incrimination by  admitting to such knowledge  is fully

          supportable.   After all, any  knowledge that Ricky  Castro might

          have had of the activities at the  supposed crack house or of his

          brother's  comings and goings  at other places  frequented by the

          coconspirators  might   well  have   furnished  important   clues

          necessary   to  convict   Ricky,  were  he   to  be   accused  of

          participation in  the drug  trafficking ring.   See, e.g.,  In re
                                                          ___  ____   _____

          Kave,  760 F.2d at 354; Johnson,  488 F.2d at 1209; see generally
          ____                    _______                     ___ _________

          Hoffman, 341  U.S. at  487-88 (emphasizing  the district  court's
          _______

          superior ability  to judge  whether information  would have  been

          inculpatory in light of the "peculiarities of the case").

                    So, too, the court's finding anent the sundry telephone

          numbers:   since the  telephone numbers  that the  coconspirators

          used to contact each other in connection with the drug enterprise

          were  not associated  with  the  appellant's  apparent  place  of

          residence,   Ricky's  knowledge  of   those  numbers  could  have

          implicated him  in  the  conspiracy.   Requiring  him  to  answer

          questions  concerning  the telephone  number  at the  appellant's

          actual place  of residence  and his knowledge  as to  whether the

          appellant had ever had a telephone listing in Massachusetts would

          similarly  have  jeopardized  his  rights.    In  the  idiocratic

          circumstances  of this  trial    in  which evidence  of telephone

          numbers was central to the government's case   we cannot say that


                                          9














          the district court abused its discretion in allowing Ricky Castro

          to invoke his Fifth Amendment privilege.

                    We give short shrift to the appellant's contention that

          the district court  had an obligation to compel  answers and then

          to forestall self-incrimination by severely limiting the scope of

          the  government's inquiry on cross-examination.  We recognize, as

          the  appellant  asserts,  that  the  Sixth  Amendment  assures  a

          criminal defendant of the right to  mount a defense     but  that

          right must coexist with the  government's right to test the truth

          of  testimony proffered  by  the defense  through  the medium  of

          cross-examination.

                    This is not to say that the right to cross-examination,

          any more  than the right  to present  a defense, is  absolute and

          unfettered.   A trial court  sometimes may avoid  Fifth Amendment

          problems  by stopping the cross-examiner from launching a fishing

          expedition into collateral matters.  See United States v. Berr o-
                                               ___ _____________    _______

          Londo o, 946 F.2d  158, 161 (1st Cir. 1991);  Turner v. Fair, 617
          _______                                       ______    ____

          F.2d 7,  10 (1st  Cir. 1980).   Still,  if a  jury is  to hear  a

          witness's evidence, it normally should not be told only a part of

          the  core  story.    Thus,  when  honoring  the  Fifth  Amendment

          privilege   will   preclude  or   unfairly   circumscribe  cross-

          examination   as  to  non-collateral  matters      and  by  "non-

          collateral matters"  we mean  matters that  are  both within  the

          scope  of  the  direct  examination  and of  consequence  to  the

          resolution of the  issues in the case     it is fully  within the

          trial court's  discretion to sustain  the claim of  privilege and


                                          10














          bar the  witness's testimony  altogether.  See  Gary, 74  F.3d at
                                                     ___  ____

          310; Zirpolo, 704 F.2d at 25-26.
               _______

                    The  appellant has  one more  shot  in his  sling.   He

          asseverates   that  even  if  the  court  properly  excluded  the

          testimony, it  should have permitted his counsel to pose specific

          questions to the  witness in front of  the jury so that  the jury

          could  see  and  hear  the  witness  claim  his  Fifth  Amendment

          privilege in living color.  This is whistling past the graveyard.

          At least in  the absence of exceptional circumstances    and none

          are present here    trial courts should not  permit witnesses who

          have  indicated that  they  will refuse  to  answer questions  on

          legitimate Fifth Amendment  grounds to take the witness stand and

          assert the  privilege in front of the jury.   See Namet v. United
                                                        ___ _____    ______

          States, 373 U.S.  179, 186 (1963); Johnson, 488 F.2d at 1211.  We
          ______                             _______

          fail to see any hint of  discretion abused in Judge Hornby's  use

          of standard procedure in this wise.

                                          D.
                                          D.
                                          __

                                Melvin "Bubba" Lagasse
                                Melvin "Bubba" Lagasse
                                ______________________

                    The  appellant strives to persuade us that the district

          court erred  in allowing Lagasse  to assert  his Fifth  Amendment

          privilege because  any questions  posed to  him either would  not

          have incriminated him or would have been wholly peripheral to the

          issues before the court.  We are not convinced.

                    The inquiry that the appellant wished to undertake vis-

           -vis Lagasse  was aimed  at securing an  admission that  he (the




                                          11














          appellant) was not  involved in the drug ring.2   Because Lagasse

          already had been convicted and sentenced for his participation in

          the  same drug trafficking conspiracy, the appellant reasons that

          this testimony was  safe in that no further  possibility of self-

          incrimination  remained.   See United  States v. Pardo,  636 F.2d
                                     ___ ______________    _____

          535, 543 (D.C. Cir. 1980).

                    This  reasoning is overly  simplistic.  It  ignores the

          fact that,  on cross-examination,  the government most  assuredly

          would  have  explored the  extent  to which  Lagasse  himself was

          involved  in  the  conspiracy  in  order to  test  his  level  of

          familiarity  with the players.  Such cross-examination would have

          required  Lagasse  to   testify  about  any  and   all  narcotics

          transactions that  occurred  in or  about  the same  time  frame.

          Though Lagasse  could not be prosecuted again for the conspiracy,

          he was not shielded  from criminal liability for  any substantive

          crimes which may have been the object of, or which were committed

          in the course  of, that conspiracy.  See,  e.g., United States v.
                                               ___   ____  _____________

          Principe, 482  F.2d 60,  63 (1st Cir.  1973); Ottomano  v. United
          ________                                      ________     ______

          States, 468 F.2d 269, 271  (1st Cir. 1972).  Nor do the  terms of
          ______

          Lagasse's plea bargain mandate a different result; while the plea

          bargain may have  precluded federal prosecution for some of these
                                      _______

                              
          ____________________

               2Here again, the district  court did not permit the  witness
          to invoke the Fifth Amendment  in a blanket fashion, but required
          him to  respond on  voir dire to  specific questions.   Moreover,
          after Lagasse claimed his Fifth Amendment privilege in respect to
          a question, the  court, if the  basis for the  assertion was  not
          transparently clear, made due inquiry of Lagasse's counsel.  This
          salutary procedure enabled the court  to define the extent of the
          witness's legitimate Fifth Amendment interests.

                                          12














          substantive  acts, Lagasse  nonetheless was  wide  open to  state
                                                                      _____

          prosecution on that account.  See United States  v. Perez-Franco,
                                        ___ _____________     ____________

          873 F.2d 455, 460-61 (1st Cir. 1989).

                    Of course,  the appellant  also wanted  to ask  Lagasse

          about his  coconspirators'  reputations for  truthfulness.   This

          line of questioning is subject to much  the same vice.  On cross-

          examination, the  government certainly  would  have explored  the

          degree to  which Lagasse was  involved in the drug  business with

          the persons on whose veracity  he was presuming to pass judgment.

          Moreover,  because  neither  Lagasse's conviction  nor  his  plea

          agreement  shielded him  from criminal  liability  for crimes  of

          violence,   the  interrogation  that   the  appellant  sought  to

          undertake would likely have gotten  into at least one incident in

          which Lagasse allegedly had robbed a coconspirator (and for which

          he never had been prosecuted).

                                          E.
                                          E.
                                          __

                                 The Remaining Claims
                                 The Remaining Claims
                                 ____________________

                    The  appellant's  two  final  claims  boil  down  to  a

          suggestion that  the government's  role in  keeping Lagasse  from

          testifying  distorted  the  factfinding  process  and  denied the

          appellant  a  fair  trial.    In  mounting  this  offensive,  the

          appellant  in effect merges  two loosely  related theories    the

          "effective  defense"  theory  (which derives  from  the  right to

          compulsory  process)  and the  "prosecutorial  misconduct" theory

          (which derives from the right to due process).  See United States
                                                          ___ _____________

          v. Angiulo,  897 F.2d 1169,  1190-93 (1st Cir.  1990) (describing
             _______


                                          13














          both theories).  Whether viewed singly or in combination, neither

          theory calls the district court's rulings into doubt.

                    We need  not dwell  on the  late, unlamented  effective

          defense theory.  That theory purports  to hold that if a  witness

          can offer  clearly  exculpatory testimony  indispensable  to  the

          defense and the government  has no convincing reason  to withhold

          immunity, the trial court may bestow use immunity on the witness.

          See Government of the Virgin Islands v. Smith,  615 F.2d 964, 974
          ___ ________________________________    _____

          (3d Cir.  1980).   Recognizing that the  power to  direct witness

          immunity customarily is reserved to  the Executive Branch, see 18
                                                                     ___

          U.S.C.    6003(b),  we recently  interred  the effective  defense

          theory.  See  Curtis v.  Duval, 124  F.3d 1, 9  (1st Cir.  1997);
                   ___  ______     _____

          United States v. Mackey, 117 F.3d 24,  28 (1st Cir. 1997).  It is
          _____________    ______

          not good  law in this circuit and  the appellant cannot profit by

          it.

                    In contrast,  the appellant's due process  claim stands

          on sound  legal  footing.   It  is common  ground  that "the  due

          process clause [constrains] the prosecutor to a certain extent in

          her  decision to grant  or not to  grant immunity."   Curtis, 124
                                                                ______

          F.3d  at 10 (quoting Angiulo,  897 F.2d at  1191).  However, this
                               _______

          constraint operates at the margins of the prosecutor's discretion

          and  takes on  practical significance  only  when the  prosecutor

          deliberately aspires to distort the factfinding process.  See id.
                                                                    ___ ___

          This type of deliberate distortion can occur in two ways:  if the

          government  attempts to intimidate or harass a potential witness,

          or if the prosecutor purposefully  withholds use immunity to hide


                                          14














          exculpatory evidence from  the jury.  See id.;  Angiulo, 897 F.2d
                                                ___ ___   _______

          at 1192.   Fortunately, such cases are rare   and the record does

          not indicate that this case is of that genre.

                    In the first place, there is absolutely  no evidence to

          validate the (entirely conclusory) assertion that  the government

          attempted to  harass or intimidate  Lagasse.  The mere  fact that

          Lagasse was a federal prisoner at the time of Castro's trial does

          not  prove the  assertion.   We likewise  are unpersuaded  by the

          appellant's suggestion that the  prosecutor's avowed intention to

          cross-examine Lagasse  vigorously about  the alleged  robbery and

          other non-collateral points  relevant to his proffered  testimony

          amounted to  intimidation.   Effective  cross-examination  is  an

          essential   tool  that  tests  the  reliability  of  a  witness's

          testimony,  and a prosecutor's  stated intention to  proceed down

          that road is no more than an acknowledgment of the obvious.

                    In the  same vein,  the record  contains no  indication

          that the  prosecutor deliberately withheld immunity  from Lagasse

          in order to keep  exculpatory testimony from the jury.  In answer

          to  the trial  court's inquiry,  the prosecutor  pointed out  the

          federal  government's  desire  not to  hinder  "state  or federal

          charges  of possession of controlled drugs and trafficking [that]

          could  still  be  brought" against  Lagasse,  notwithstanding the

          federal  conspiracy   conviction.     This  perfectly   plausible

          statement   adequately   deflects   any   insinuation  that   the

          government's handling of Lagasse qua witness was motivated by the
                                           ___

          sole purpose of keeping exculpatory  evidence from the jury.  See
                                                                        ___


                                          15














          Angiulo, 897 F.2d at 1193.
          _______

                                         III.
                                         III.
                                         ____

                                      Conclusion
                                      Conclusion
                                      __________

                    We need  go no further.   From aught that  appears, the

          appellant was  fairly tried and  justly convicted.   The judgment

          below must therefore be



          Affirmed.
          Affirmed.
          ________






































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